        Case 3:20-cv-02886-SK Document 58 Filed 10/02/20 Page 1 of 2



 1   KAREN G. JOHNSON-MCKEWAN (STATE BAR NO. 121570)
     kjohnson-mckewan@orrick.com
 2   RANDY LUSKEY (STATE BAR NO. 240915)
     rluskey@orrick.com
 3   ORRICK, HERRINGTON & SUTCLIFFE LLP
     The Orrick Building, 405 Howard Street
 4   San Francisco, CA 94105-2669
     Telephone:    +1 415 773 5700
 5   Facsimile:    +1 415 773 5759

 6   WILLIAM A. MOLINSKI (STATE BAR NO. 145186)
     wmolinski@orrick.com
 7   ORRICK, HERRINGTON & SUTCLIFFE LLP
     777 South Figueroa Street, Suite 3200
 8   Los Angeles, CA 90017-5855
     Telephone:    +1 213 629 2020
 9   Facsimile:    +1 213 612 2499
10   Attorneys for Specially Appearing Defendants
     THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
11   and JANET NAPOLITANO

12
                                      UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
     CLAIRE BRANDMEYER, individually and on             Case No. 3:20-CV-02886-SK
15   behalf of all others similarly situated,
                                                        Case No. 3:20-CV-02925-SK
16                      Plaintiffs,
                                                        DEFENDANTS’ ADMINISTRATIVE
17          v.                                          MOTION TO NOTIFY THE COURT
                                                        OF SUPPLEMENTARY CASE LAW
18   THE REGENTS OF THE UNIVERSITY OF                   [L.R. 7-11]
     CALIFORNIA; and JANET NAPOLITANO,
19   individually and in her capacity as President of   Date:       October 5, 2020
                                                        Time:       9:30 a.m.
     the University of California,
20                                                      Courtroom: C, 15th Floor
                        Defendants.
21
                                                        Judge:     Hon. Mag. Sallie Kim
22   NOAH RITTER, individually and on behalf of
     all others similarly situated,
23
                        Plaintiffs,
24
            v.
25
     THE REGENTS OF THE UNIVERSITY OF
26   CALIFORNIA, and JANET NAPOLITANO,
     individually and in her capacity as President of
27   the University of California,
28                      Defendants.
                                                               DEFENDANTS’ ADMIN. MOT. TO NOTIFY
                                                             THE COURT OF SUPPLEMENTARY CASELAW
                                                                 [3:20-CV-02886-SK, 3:20-CV-02925-SK]
        Case 3:20-cv-02886-SK Document 58 Filed 10/02/20 Page 2 of 2



 1          Pursuant to Civil Local Rule 7-11, Defendants The Regents of the University of California

 2   and former President Napolitano (“Defendants”) hereby move this Court to take notice of Erzinger

 3   v. Regents of Univ. of Calif., 137 Cal.App. 3d 389 (1982) (“Once the University [of California]

 4   collects mandatory student fees, such funds become University property”). A true and correct copy

 5   of the Erzinger case is appended hereto as Exhibit A.

 6          Counsel for Defendants identified Erzinger for the first time in the course of preparing for

 7   oral argument on Defendants’ Motion to Dismiss in this case, set for hearing on Monday, October

 8   5, 2020. See Dkt 52 in 3:20-cv-02886-SK; Dkt. 35 in 3:20-cv-02925-SK. As the case pertains to

 9   issues central to the pending motions to dismiss, the Court may wish to consider it in addressing
10   the pending motions. Rather than bring the case to the Court’s attention in the first instance at oral

11   argument, counsel thought it preferable to advise the Court and Plaintiffs’ counsel in advance of

12   argument.

13

14

15   Dated: October 2, 2020                        KAREN G. JOHNSON-MCKEWAN
                                                   RANDY LUSKEY
16                                                 WILLIAM A. MOLINSKI
                                                   Orrick, Herrington & Sutcliffe LLP
17

18
                                                   By:        /s/Karen G. Johnson-McKewan
19                                                           KAREN G. JOHNSON-MCKEWAN
                                                         Attorneys for Specially Appearing Defendants
20                                                       THE REGENTS OF THE UNIVERSITY OF
                                                          CALIFORNIA and JANET NAPOLITANO
21

22

23

24

25

26

27

28
                                                                    DEFENDANTS’ ADMIN. MOT. TO NOTIFY THE
                                                     -2-                COURT OF SUPPLEMENTARY CASELAW
                                                                           [3:20-CV-02886-SK, 3:20-CV-02925-SK]
